Case 1:17-cr-00151-AJN Document 386 Filed 11/06/20 Page 1of1

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November 5, 2020
BY ECF

Honorable Alison J. Nathan
United States District Judge
United States Courthouse

40 Foley Square

New York, New York 10007

Re: U.S. v. Robert Pizarro
17 CR 151 (AJN)

Dear Judge Nathan:

I have been informed by the CJA office that under the electronic voucher filing system
(“system”) when a case is no longer death penalty eligible the court needs to issue an order
continuing the assignment of counsel pursuant to the regular rates, unless for some other reason
the death penalty rate is continued. In addition the system does not have me as assigned capital
counsel for the time period when the case was death penalty eligible. Therefore, I request that the
Court issue an order:

1. Directing the payment of CJA death penalty rate from 3/22/2017 to
6/30/2017; when the case was death penalty eligible; and

2. Continuing my representation of Mr. Pizarro from 7/1/2017 until 12/7/18
at regular CJA rates.

SO ORDERED. Respectfully,

/S/ Louis M. Freeman
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soorveren. 11/6/2020

ALISON J. NATHAN, U.S.D_].

 

 

 

 
